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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS


DIANE NGUYEN, individually and on
behalf of all others similarly situated,
Plaintiff,


v.                                      Case No. 4:24-cv-00815-


SAVAGE ENTERPRISES, et al.,
Defendants.


          COMES Luther Sutter, and for his Response to the Order to Show Cause, he

states:

          I.      History of discipline

          1. After 30 years of practice, undersigned counsel has filed thousands of

               pages of briefing from the highest Court in the land and at every level

               below. In that time, the most severe comment by any judicial officer has

               been the use of the word “despicable” in connection with the undersigned’s

               expressed belief that Jim Harris had faked a heart attack1. The Court may

               or may not have considered that to be discipline.



1
 Unbeknownst to the Court at that time, undersigned’s client had warned him weeks before Mr. Harris would
fake a heart attack. Further, when MEMS responded, MEMS did not begin the heart attack protocol.
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2. To his recollection, undersigned counsel has previously personally

      suffered two show cause orders in his career. The first was discharged

      because a satisfactory explanation, and the second appears to be still

      pending before this Court for filing a Reply Brief without leave of Court.

3. Decades ago, the undersigned counsel was ordered to pay less than

      $500.00 in a discovery dispute.

II.       Events in this case

1. The pleading at issue responded to a Motion to Dismiss an Amended

      Complaint. Plaintiff had already responded in large part to similar

      arguments in DE 35. The Court allowed Plaintiff to file an Amended

      Complaint.

2. In Response, Savage and Wheeler each filed a Motion to Dismiss, which

      contained arguments that the undersigned counsel and his team has

      addressed in other states on multiple occasions without resort to fictitious

      cites.

3. The undersigned counsel has filed similar lawsuits in several states across

      the country and currently supervises a team of lawyers, across the country.

      At one point AI had been used to assist in research, but that had ceased. It

      appears that some bad case law from that time may have crept into research

      files and got passed into this brief. Hundreds of thousands of dollars has
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   been spent in costs and time research the issues in this lawsuit. Because of

   his trial schedule and personal health issues within his family, undersigned

   counsel asked a young lawyer, who has his own firm, to assist in drafting

   the offending Brief. The young lawyer had clerked with S&G before he

   graduated and started working on a contract basis with S&G, once he was

   licensed in Alabama in 2023. The young lawyer, other experienced

   lawyers, and the undersigned worked hand in hand in drafting Complaints

   and briefs addressing the exact same issues in multiple states, and the

   young lawyer’s work was more than satisfactory. But the above still does

   not excuse the filing of filing of a brief containing fictitious cites.

4. The young lawyer sent the undersigned a draft on the date it was due.

   Undersigned checked the brief for content, but did not apparently check

   the cites. Of note, on review of this matter, Lexis identified some of the

   fictitious cites but not all of them. Moving forward, the undersigned

   counsel will manuallycheck the cites for every Brief he files. But the above

   still does not excuse the filing of a brief containing fictitious cites.

5. Opposing counsel served no pleading on opposing counsel under Rule 11.

   Defense counsel did not disclose the citation issue until 1/30/25, the day

   before the undersigned counsel left to celebrate his 29th wedding

   anniversary for 10 days. Had a Rule 11 Motion been served, or had defense
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           counsel disclosed the issue, then the Briefing would have been corrected

           immediately in accordance with the safe harbor. But the above still does

           not excuse the filing of a brief containing fictitious cites.

      6. On 1/30/2025, the Reply Brief was filed. Undersigned counsel did not read

           the reply until after he returned to the office on 2/11/25.         After the

           undersigned read the Reply, he was in the process of researching an

           appropriate response within the Rule 11 21 day safe harbor, when this

           Court entered its show cause order. But the above still does not excuse the

           filing of a brief containing fictitious cites..

      III.    Offending passages identified by the Court

      1. Although the legal citations at issue here cited to a nonexistent case, each

           legal proposition was valid, as the Court recognized in its Order denying

           the Motion to Dismiss. Shockingly, the Brief also contains additional

           inaccurate citations that were not identified by the Court. But that does not

           excuse the undersigned filing of a brief containing fictitious cites.

      IV.     CONCLUSION

      1.      Undersigned counsel regrets his mistake. An attempt to persuade a

court or oppose an adversary by relying on fake opinions has been held to be an

abuse of the adversary system. Mata v. Avianca, Inc., 678 F. Supp. 3d 443, 448

(S.D.N.Y. 2023). Undersigned counsel did not check the cites in the Brief the young
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lawyer drafted.    Section 1927 warrants sanctions when an attorney's conduct

"viewed objectively, manifests either intentional or reckless disregard of the

attorney's duties to the court." Perkins v. Spivey, 911 F.2d 22, 36 (8th Cir. 1990)

(quotation omitted), cert. denied, 499 U.S. 920 (1991); Tenkku v. Normandy Bank,

348 F.3d 737, 743 (8th Cir. 2003). There is insufficient evidence here to make this

finding. But that does not excuse the filing of a brief containing fictitious cites.

      2.     Undersigned counsel is humbled and embarrassed.             He takes full

responsibility for what has occurred. Undersigned counsel knew of the dangers

associated with AI and thought the dangers had been fully discussed with lawyers

working with him. There are citation problems throughout the Brief, even some

opposing counsel and the Court did not catch. So, had the undersigned checked even

a few of the cites by hand, the Brief would not likely have been filed. In sum, the

undersigned counsel had a duty to file a Brief that contained accurate citations. All

the undersigned counsel can do is sincerely apologize and make it right. The

undersigned counsel stands ready to appear before the Court for any and all

appropriate proceedings and will personally do everything he can to make this right.

If necessary, undersigned counsel can draft and file and file s substituted Brief.

                                               Respectfully Submitted,

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                            By:   /s/ Luther Oneal Sutter____________
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